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                        8 1007(a)(4) Disclosure Pg 1 of 4



                                   Attachment 3

                          Item 8: Disclosure Pursuant to Rule
               1007(a)(4) of the Federal Rules of Bankruptcy Procedure
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                                    8 1007(a)(4) Disclosure Pg 2 of 4



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Brett M. Neve (pro hac vice pending)                        Nima H. Mohebbi (pro hac vice pending)
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Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                      Chapter 15

    Three Arrows Capital, Ltd, 1                                Case No. 22-__________ ( )

              Debtor in a Foreign Proceeding.


                        DISCLOSURE PURSUANT TO RULE 1007(a)(4)
                   OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

             Russell Crumpler and Christopher Farmer, in their joint capacities as the duly authorized

foreign representatives (the “Foreign Representatives”) 2 of Three Arrows Capital, Ltd (the

“Debtor”), 3 hereby file this disclosure pursuant to rule 1007(a)(4) of the Federal Rules of

Bankruptcy Procedure and respectfully set forth as follows:


1
    The last four digits of the Debtor’s British Virgin Islands company registration number are 0531. The location of
    the Debtor’s registered office is ABM Chambers, P.O. Box 2283, Road Town, Tortola, VG1110, British Virgin
    Islands.
2
    Capitalized terms shall have the same meanings ascribed to them in the verified petition.
3
    The Debtor is the subject of insolvency proceedings (the “BVI Proceeding”) currently pending in the British Virgin
    Islands (“BVI”) before the Eastern Caribbean Supreme Court in the High Court of Justice Virgin Islands
    (Commercial Division) (the “BVI Court”) and captioned as In re Three Arrows Capital Limited, Case No.
    BVIHCOM2022/0119 (June 27, 2022).
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                         8 1007(a)(4) Disclosure Pg 4 of 4



Dated: July 1, 2022                   Respectfully submitted,
       New York, New York
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